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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA

PSARA ENERGY, LTD.                                          WRIT OF FOREIGN ATTACHMENT
                                                            (Summons & Process of Attachment)
VERSUS                                                      (and Garnishment)

SPACE SHIPPING, LTD., ET AL                                 C.A. NO. 18-4111 B(2)


                              THE PRESIDENT OF THE UNITED STATES
To the Marshal of the Eastern District of Louisiana, or to his lawful Deputy,
GREETINGS:
WHEREAS, a verified Complaint has been filed in this Court on the 20th day of April, 2018, numbered
and entitled as above, with a claim for damages in the amount of $19,860,063.80, together with a prayer
for attachment and garnishment, and accompanied by an affidavit that the defendant in said suit cannot be
found within this District:
         NOW THEREFORE, you are hereby commanded to attach the defendant’s goods and chattels, or
credits and effects in your District, to the amount sued for, and in particular the MOTOR TANKER
ADVANTAGE START, bearing IMO No. 9466570 and international call sign V7KY9 (“the Vessel”),
her engines, tackle, apparel, boilers, equipment and appurtenances, etc.
In the hand of Its Master, garnishee(s). If tangible property is attached you shall take it into your possession
for safe keeping unless the character or situation of the property is such that the taking of actual possession
is impracticable, in which case you shall execute this process by affixing a copy thereof to the property in
a conspicuous place and by leaving a copy of the complaint and process with the person having possession
or his agent.
If intangible property is attached you shall execute this process by leaving with the named garnishee(s) or
other obligor(s) a copy of the complaint and this process; or you may accept for payment into the registry
of the court the amount owed to the extent of the amount claimed by the plaintiff, as set forth herein, with
interest and costs.
        TO THE GARNISHEE(S): You are hereby summoned and required to serve upon Plaintiff’s
attorney, George A. Gaitas whose address is 6250 Westpark Dr., Suite 222, Houston, TX 77057 , an
answer to the complaint together with answers to any interrogatories served with the complaint, within 21
days after service of this process upon you.
WITNESS, the Honorable Judges of this Court at New Orleans, Louisiana, this 20 day of April, 2018.
                                                                    WILLIAM W. BLEVINS, CLERK




                                                                    By: __________________________
                                                                                  Deputy Clerk



Note: Rule B(3)(b) of the SUPPLEMENTAL FEDERAL RULES OF CIVIL PROCEDURE provides: "The
defendant shall serve his answer within 30 days after process has been executed, whether by attachment of
property or service on the garnishee."
ISSUED FOR: George A. Gaitas, Gaitas, Kennedy & Chalos, P.C., 6250 Westpark Dr., Suite 222,
Houston, TX 77057 , (281) 501-1800
